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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

                          Plaintiff,

 v.                                                Case Number: 22-40030-TC

 INNOCENT UGWU,

                           Defendant.



                                       DETENTION ORDER

A.            Order for Detention

      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) on May 31, 2022,
Defendant Innocent Ugwu is detained pursuant to 18 U.S.C. §§ 3142(e) & (i).

B.            Statement of Reasons for Detention

       As the ultimate reasons for detaining Defendant, the Court finds:

       ☒      by a preponderance of the evidence, that no condition or combination of conditions
              will reasonably assure the appearance of Defendant as required, i.e., Defendant
              poses a serious flight risk.

C.            Findings of Fact

        The Court’s findings in connection with the decision to detain Defendant are based on the
Indictment, evidence presented during the detention hearing, and information contained in the
Pretrial Services Report, including the following:

 ☒      (1)     Nature and circumstances of the offenses charged in the present case:

              ☒       Defendant has been charged with running multiple schemes, including a
                      romance scheme and an advanced fee scheme, to defraud individuals out of
                      their money. Defendant conducted these schemes while he was a member
                      of the United States Military and stationed at Fort Riley. As a soldier,
                      Defendant was required to be fully transparent with the military about his
                      location at all times. As discussed at the hearing, Defendant lied (or at a
                      minimum, omitted material information) to the U.S. Military about his
                      locations when he was alleged to be traveling to execute these schemes.
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                 In addition, Defendant is charged with providing false information on his
                 citizenship application, including false information about his travel outside
                 of the United States.

☒   (2)    Based on the testimony at the detention hearing, the record indicates the
           Government has a strong case against defendant.

☒   (3)    The history and characteristics of Defendant, including:

          (a)    General factors:

                    ☒     At the hearing, the Government put forth three witnesses who
                          testified about Defendant’s conduct while he was in the
                          military. For good reasons, the military requires soldiers to
                          be truthful about their travel, particularly when that travel is
                          outside of the United States. Defendant’s record as a soldier
                          demonstrates his failure to comply with orders limiting his
                          travel, which underscores his flight risk.

                          Defendant went AWOL throughout part of December 2019
                          and January 2020 when he was traveling in Nigeria.

                          In 2021, Defendant received permission from the military to
                          travel to Texas. Unbeknownst to the military, however, after
                          arriving in Texas, Defendant purportedly boarded a plane to
                          Nigeria, which again was travel that was not approved by the
                          military.

                          Testimony at the detention hearing revealed additional
                          instances in which Defendant was less than truthful about
                          potential travel. For example, Defendant is alleged to have
                          claimed to the military that his father died on two separate
                          occasions as the basis for travel to Nigeria.

                    ☒     Defendant has mental health challenges that affect whether
                          he will appear. As discussed at the hearing, the military has
                          initiated proceedings to discharge, or separate, Defendant
                          from the military. In 2022 when Defendant was told about
                          these proceedings, he informed the military that he was
                          suicidal and threatened to go AWOL.

                    ☒     Based on the testimony at the hearing, it is clear that
                          Defendant will be separated from the military soon, leaving
                          him without employment or a residence. Right now, the
                          military is likely to seek a separation that is other than


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                                      honorable, which could leave Defendant without any military
                                      benefits. This raises concerns about where Defendant will
                                      live when that separation is completed.

                               ☒      As discussed at the hearing, Defendant’s citizenship
                                      application was far from truthful. Defendant was required to
                                      fully disclose his travel outside of the United States and he
                                      failed to do so with regard to his travel to Nigeria. Defendant
                                      initially indicated in his citizenship application that he did not
                                      have children, only to disclose later that he has multiple
                                      children living in Nigeria. Defendant initially indicated that
                                      he was married to a U.S. citizen, but it is unclear if that
                                      information was accurate. He is now alleged to be married
                                      to a Nigerian citizen. Neither his wife nor his children have
                                      any ties to the United States and it does not appear that any
                                      of them have ever visited the United States. Other than one
                                      possible friend living in the United States, a friend who does
                                      not live in Kansas and who is alleged to have helped
                                      Defendant transfer money to Nigeria, Defendant has no
                                      meaningful ties to the United States, which again raises
                                      serious concerns about his flight risk, particularly when his
                                      military career ends.

                               ☒      In his interview with Pretrial Services, Defendant initially
                                      refused to answer whether he continues to be a Nigerian
                                      citizen. At the hearing, counsel for Defendant stated that
                                      Defendant had a Nigerian passport as of at least 2013, but it
                                      is purportedly expired. While Defendant offered to turn in
                                      his expired passport and his current United States passport, it
                                      was unclear at the detention hearing whether Defendant
                                      could just request a new Nigerian passport or if he has other
                                      documentation that would allow him to return to Nigeria,
                                      where he was born and where all of his family lives.
                                      Defendant’s history of unapproved travel, including going
                                      AWOL while a soldier, and his lack of any meaningful ties
                                      to the United States make him a serious flight risk. The U.S.
                                      Military was unable to control Defendant’s travel and there
                                      is no reason to assume that Pretrial Services will have greater
                                      success.


D.      Additional Directives

             Pursuant to 18 U.S.C. §§ 3142(i)(2)-(4), the Court directs that Defendant be committed to
     the custody of the Attorney General for confinement in a corrections facility separate, to the extent
     practicable, from persons awaiting or serving sentences or being held in custody pending appeal.



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Defendant shall be afforded reasonable opportunity for private consultation with counsel of record
in this case. On order of a court of the United States, or on request of any attorney for the
Government, the person in charge of the corrections facility in which Defendant is confined shall
deliver Defendant to a United States Marshal for the purpose of an appearance in connection with
a court proceeding.

Dated June 1, 2022, at Topeka, Kansas.


                                                 /s/ Rachel E. Schwartz
                                                 Rachel E. Schwartz
                                                 United States Magistrate Judge




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